Case 1:05-cr-00163-PLM           ECF No. 295, PageID.746            Filed 12/08/05      Page 1 of 2




                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:05-cr-00163
                                    )
v.                                  )                 Honorable Robert Holmes Bell
                                    )
TYRONE LAMER DAVIS,                 )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on December 8, 2005, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Tyrone Lamer Davis entered a plea of guilty to the Felony Information, charging

defendant with conspiracy to distribute and possess with intent to distribute five grams or more of

cocaine base, 500 grams or more of cocaine, and marijuana in violation of Title 21, United States

Code, Sections 846, 841(a)(1) and (b)(1)(B), in exchange for the undertakings made by the govern-

ment in the written plea agreement. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
Case 1:05-cr-00163-PLM           ECF No. 295, PageID.747            Filed 12/08/05       Page 2 of 2




               I therefore recommend that defendant's plea of guilty to the Felony Information be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Date: December 8, 2005                                  /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                               - 2 -
